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VIRGINIA:

IN THE CIRCUIT COURT OF THE CITY OF RICHMOND

. K.B.. . BY HER MOTHER,
SAKIA HALL AS NEXT FRIEND,
and
SAKIA HALL
Plaintiffs,
Case No.:
vs. CL10-3675-00

HAROLD FORD

Defendant.

DEPOSITION OF SAKIA HALL

May 20, 2011

12:40 p.m.

Taken at:

THE CITY ATTORNEY'S OFFICE
900 East Broad Street, Room 300
Richmond, Virginia 23219

REPORTED BY: HELEN B. YARBROUGH, RPR, CCR, CLR

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A Yes.

Q And you're living -- just you and ‘R.@_?

A Yes.

O And at that point -K,@.is three years old?

A Yes.

o And how was she doing in terms of her
behavior?

A i4.Q. was always hyper from a baby. She was

a little active, a little more active than other kids.

Q What do you mean by "more active than other
kids"?
A She had a lot of energy, a lot of energy to

burn.
QO And how would that show itself?
A She just liked to play.
0 By the time you moved here in October of

2004, did she have a counselor of any sort?

A No.

QO Did she have any medication that she was
taking?

A No. She just started when she got in the
third grade -- no, the second grade -- no -- yeah, the

second grade, they started medication.
Q From October 2004, did you find any work,

and did you work while you were in Richmond?

20

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A Yes.

9 What were you receiving?

A I think just food stamps and Medicaid.

QO So you had food stamps, Medicaid, and you
were living in the Richmond Redevelopment Housing
Authority; is that correct?

A Uh-huh.

oO Did you have any bills?

A No, not really. Just my rent. That was $50
while I was working.

QO You said about|«,.B., when we were getting
there, that she started medication in the-
second grade; is that right?

A ‘Yes.

Q Before she started medication, had she been
having some behavior problems?

A No. No. She's just a reguiar kid. That's
just her. That's the way she is. Some people can

handle her. Some people, if they have patience, they
can handle her. If you want to spend time, you can do
that with her. If you don't, then you're going to be
stressed out. That's the way it is. But she's not
bad. She's very smart. She's just a little hyper.

Q Did she have temper tantrums?

A Yes. She's the only child.

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What does that mean?

She's spoiled.

What does her temper tantrum look like?
Crying and failing out.

What does "falling out" mean?

Falling down on the floor, crying.
Like, lay down on her back?

Yeah, sometimes.

Lay on her stomach?

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Like, in the supermarket, you see kids, they
want something, they can't get it, you don't have
enough money, they start crying, they fall out and all
this stuff like that.

Q Okay. How often would she have those temper
tantrums.

A When I don't have it.
Whenever she didn't get what she wanted?
Uh-huh.
Is that "yes"?

Yes.

Oo Ff © PF ©

That was true in the second grade, that she
would still have temper tantrums?

A Yes. She was breaking out of it slowly,
because she be around other kids and first time going

to school, and that's when she started kindergarten

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1 A I'm sure. I don't know if she did in
2 second grade, but I know the third.
3 0 Third grade, she had a counselor at school
4 and a counselor at home?
5 A Yes.
6 Q When did she first have a counselor at home?
7 A I'm not even sure.
8 QO What was her understanding of why she had 4
g counselor at home?
10 A That she -- like I just told you, she's
11 active and she needs to focus. So the medicine was
12 making her do -- she was doing fine way before that
13 incident happened and everything. She was fine. She
14 was fine that day.
is Q Here's my question: What was your
16 understanding of why she had a counselor at home in
17 the third grade?
18 A I'm not even sure. They just asked me did I
13 want an inside counselor. It was my choice, and I
20 just said yes -- somebody else to work with her so she
21 would be more better at school.
22 QO Was that Ms. Worsham, the home counselor?
23 A Yeah.
24 QO How often did Ms. Worsham spend time with
25 Kyss at home?

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they work together, but they're not in the same
office.
QO Is that Richmond Behavicral Health?
A Yes. And that's when they diagnosed that
she had ADHD.
o So k,.@; actually went to Richmond Behavioral

Health and was given some tests or something?

A No. It's like, I guess, the doctor or
whatever just asked her questions and asked her how
she feel and everything like that.

Q And your understanding was that they
diagnosed her with ADHD?

A Yes.

Q Okay. After she was diagnosed with ADHD,
was she put on some medication?

A Yes. She was on a couple of them. I do not
know the name of them because it sound crazy, half of
them. But most of them had side effects that I did
not like. Some of them made her, like, a zombie; some
of them, she had dry mouth; she wouldn't eat; she said
her stomach hurt, head hurt, stuff like that. Sof
had to keep changing, trying to find something better.

And the last one she took, she said that it
was making her have bad side effects. So she was

going to get different medicine, so I just took her

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1 Oo Was she crying?

2 A Yes. She said she's tired of people keep

3 asking her the same questions over and over again.
40 ° What does that mean?

5 A Like, my mom and my sister, they're just

6 trying to find out; like, "What's wrong? What's going
7 on,’ .. Tell us what happened." Like, she was like
8 she was tired of talking about it and whatever. When
9 that happened, she had lines on her arms from the

19 euffs being too tight on her arms.

il o Where were the lines? On her wrists?

12 A Going across her wrists.

13 Q I saw in your interrogatory answers that

14 there were no -- she did not get any medical

15 treatment, though?

16 A No.

1? Qo And still to this day, she's never been to
18 see a doctor or anybody about this?

1 A No.

20 Q Does she have counselors at school or at

21 home up in New Jersey?

22 A Yes, she has a counselor.

23 QO At school or home or --

24 A At school.

25 o Why does she have that counselor at school?

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